                  Case 5:18-mj-01207 Document 1 Filed in TXSD on 12/01/18 Page 1 of 2
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                    Southern District of __________
                                                 __________              Texas

                  United States of America                         )
                             v.                                    )
               Juan Carlos Abarca-Mercado
                                                                   )      Case No.
                                                                   )
                                                                   )
                                                                   )
                                                                   )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                 November 30, 2018              in the county of                Webb           in the
     Southern          District of            Texas            , the defendant(s) violated:

            Code Section                                                     Offense Description
21 U.S.C. §§ 963 & 952                         Knowingly and unlawfully import, attempt to import, and conspire to import,
                                               from a place outside the United States, to wit; the United Mexican States, to a
                                               place in the United States, to wit; Laredo, Texas, a controlled substance
                                               listed under Schedule II of the Controlled Substance Act, to wit; 41.40
                                               kilograms of methampetamine.




         This criminal complaint is based on these facts:
See Attachment A




         ✔ Continued on the attached sheet.
         u

                                                                                               /s/ Cesar Estrada
                                                                                              Complainant’s signature

                                                                                 Cesar Estrada, HSI ICE Task Force Officer
                                                                                               Printed name and title

Sworn to before me and signed in my presence.


Date:             12/03/2018
                                                                                                 Judge’s signature

City and state:                          Laredo, Texas                          Diana Song Quiroga, U.S. Magistrate Judge
                                                                                               Printed name and title
      Case 5:18-mj-01207 Document 1 Filed in TXSD on 12/01/18 Page 2 of 2




                                       Attachment A

I, Cesar Estrada, a Task Force Officer with Homeland Security Investigations (HSI), have
knowledge of the following facts:


       1. On November 30, 2018, Juan Carlos ABARCA-Mercado arrived at the World Trade
          Bridge Port of Entry in Laredo, Texas via primary vehicle inspection lane, driving a
          white Kenworth Tractor, pulling a trailer. Customs and Border Protection Officers
          (CBPO) referred ABARCA-Mercado to secondary inspection.

       2. During secondary inspection, CBP Officers performed an x-ray inspection of the
          tractor and trailer, discovering anomalies within a speaker box located in the sleeper
          area inside the tractor. CBP Officers probed the speaker box, discovering a white,
          powdery substance that field-tested positive for the properties of methamphetamine.
          CBP Officers recovered 41.40 kilograms of methamphetamine, as per CBP scales.

       3. HSI Special Agents responded to the World Trade Bridge Port of Entry. Special
          agents verbally advised ABARCA-Mercado of his Miranda Warnings. ABARCA-
          Mercado acknowledged his rights but refused to sign a Miranda Warning for waiving
          his rights. ABARCA-Mercado verbally advised HSI Laredo special agents that he
          was willing to make a statement without an attorney present. ABARCA-Mercado
          stated he was not aware that he was transporting narcotics, but that several unknown
          men in Nuevo Laredo, Mexico had stopped him prior to crossing into the U.S.
          ABARCA-Mercado also stated that the unknown men instructed him to exit his
          tractor and board their vehicle while two of the men boarded his tractor. ABARCA-
          Mercado stated that the men subsequently instructed him to board his tractor again,
          advising him that someone would be in contact with him once he crossed into the
          United States. ABARCA-Mercado stated that he had constructed the speaker box
          inside of his tractor, but was not aware it contained concealed narcotics. ABARCA-
          Mercado stated he was not threatened by the unknown men and claimed he had a
          prior encounter with them weeks prior. ABARCA-Mercado also stated he did not
          inform the CBP Officer at the primary inspection of the incident because he felt he
          would have been in trouble had they found what was in the tractor.

       4. Federal prosecution was accepted for ABARCA-Mercado. He was arrested and
          transported to the Webb County Jail.
